   Case Case
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             1:17-cv-02559-ZMF
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                                                        Page 1Page
                                                               of 2 PageID
                                                                    1 of 2 #: 1




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


  KOCH MINERALS SÀRL, et al.,

              Plaintiffs,

      v.                                                          Civil Action No.
                                                                 1:17-cv-2559-ZMF
  BOLIVARIAN REPUBLIC OF
  VENEZUELA,

              Defendant.


                                   Judgment In A Civil Action

       For the reasons stated in the Court’s Memorandum Opinion granting Plaintiff’s Motion for

Summary Judgment on August 18, 2021, the Court has ordered that Plaintiffs are entitled to the

sum of:

          •   To Koch Minerals:

                 •   The principal amount: $140,250,000;

                 •   Pre-award interest from October 11, 2010 to October 30, 2017, calculated at

                     the US$ Libor 6-month rate plus 2%, compounded every six months:

                     $28,419,011.14; and

                 •   Post-award interest from October 30, 2017, to the date of this Court’s entry of

                     judgment at a rate of US$ Libor 6-month rate plus 2%, compounded every six

                     months.

          •   To Koch Nitrogen:

                 •   The principal amount: $166,700,000;
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             1:17-cv-02559-ZMF
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                                                        Page 2Page
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               •   Pre-award interest from October 11, 2010 to October 30, 2017, calculated at

                   the US$ Libor 6-month rate plus 2%, compounded every six months:

                   $33,778,603.62; and

               •   Post-award interest from October 30, 2017, to the date of this Court’s entry of

                   judgment at a rate of US$ Libor 6-month rate plus 2%, compounded every six

                   months. See Schedule of Amounts Owed at 24.

       •   Jointly, to Plaintiffs:

               •   Legal costs: $17,436,085.10;

               •   Arbitration costs: $628,836.435;

               •   Post-award interest on the foregoing legal and arbitration costs from October

                   30, 2017, to the date of this Court’s entry of judgment at a rate of US$ Libor

                   6- month rate plus 2%, compounded every six months; and

               •   Post-judgment interest on the total amount of the award, calculated at the rate

                   set forth in 28 U.S.C. § 1961, from the date of judgment until full payment.
                                                               Zia M. Faruqui
                                                               2022.02.22 13:09:24
Date: February 22, 2022                                        -05'00'
                                            ___________________________________
                                            ZIA M. FARUQUI
                                            UNITED STATES MAGISTRATE JUDGE




                                       ANGELA D. CAESAR, CLERK

                                     Bryant           Digitally signed by Bryant
                                                      Johnson

                                     Johnson          Date: 2022.03.30 10:49:09
                                                      -04'00'




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